Case 2:17-cv-10068-RHC-RSW
              Case: 17-1824 Document:
                             ECF No. 23
                                      21 filed
                                             Filed:
                                                04/23/18
                                                    04/23/2018
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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE                    Tel. (513) 564-7000
       Clerk                      CINCINNATI, OHIO 45202-3988                  www.ca6.uscourts.gov




                                       Filed: April 23, 2018




Mr. David J. Weaver
U.S. District Court
for the Eastern District of Michigan
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

               Re: Case No. 17-1824, Get Back Up, Inc. v. City of Detroit, MI, et al
                   Originating Case No. : 2:17-cv-10068

Dear Clerk:

   Enclosed is a copy of the mandate filed in this case.

                                       Sincerely yours,

                                       s/Jeanine R. Hance
                                       Case Manager
                                       Direct Dial No. 513-564-7037

cc: Mr. Jonathan B. Frank
    Ms. Sheri L. Whyte

Enclosure
Case 2:17-cv-10068-RHC-RSW
              Case: 17-1824 Document:
                             ECF No. 23
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                                                04/23/18
                                                    04/23/2018
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                    ________________

                                       No: 17-1824
                                    ________________

                                                        Filed: April 23, 2018

GET BACK UP, INC.

                Plaintiff - Appellant

v.

CITY OF DETROIT, MI; CITY OF DETROIT BOARD OF ZONING APPEALS

                Defendants - Appellees



                                            MANDATE

     Pursuant to the court's disposition that was filed 03/30/2018 the mandate for this case hereby

issues today.



COSTS: None
